
PER CURIAM:
Certiorari was granted in this case because of conflict between the decision here involved, Fla.App. 213 So.2d 281, and the decision of the District Court of Appeal, Second District, in City of St. Petersburg v. Aikin, 208 So.2d 268. The decision in the Aikin case has been quashed by this court in a decision which became effective subsequent to granting of certiorari. See City of St. Petersburg v. Aikin, Fla., 217 So.2d 315.
No conflict now existing, it is ordered that the writ heretofore issued be and the same is hereby
Discharged.
ROBERTS, Acting C. J., and DREW, THORNAL, CARLTON and ADKINS, JJ., concur.
